






NO. 07-00-0458-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 8, 2002


											

______________________________



												

RUDY D. PENA , JR., APPELLANT



V.



AMARILLO BOWL, INC., APPELLEE



_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 82516-E; HONORABLE ABE LOPEZ, JUDGE


______________________________



Before BOYD, C.J., and QUINN and JOHNSON, JJ.

	On November 7, 2001, this court handed down its opinion in support of final
disposition of the captioned appeal.  The opinion was noted "publish."  See Tex. R. App.
P. 47.1.3(b).  

	Upon reconsideration, the "publish" designation noted on such opinion is withdrawn
and the opinion is designated "do not publish."  See TRAP 47.1.3(c).  

      								Phil Johnson		

								    Justice

Do not publish.



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NO. 07-06-0414-CR
NO. 07-06-0415-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

MARCH 29, 2007

______________________________


JOHANSON LEE WATSON, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE


_________________________________

FROM THE 46TH DISTRICT COURT OF WILBARGER COUNTY;

NOS. 9479 &amp; 9480; HONORABLE TOM NEELY, JUDGE




_______________________________

Before CAMPBELL and HANCOCK and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Johanson Lee Watson, proceeding pro se, perfected these appeals from
the trial court’s order denying his motion for forensic DNA testing.  The appeals were
abated and the causes were remanded to the trial court on November 16, 2006, to
determine whether Appellant was entitled to appointed counsel.  Pursuant to our directive,
the trial court appointed Earl Griffin to represent Appellant in prosecuting these appeals. 
On February 1, 2007, Appellant filed a pro se motion requesting that the appeals be abated
for appointment of new counsel due to “friction” between himself and Mr. Griffin.  In the
interest of judicial economy, on February 2, 2007, this Court again abated the appeals and
remanded the causes to the trial court to resolve the issue of appointed counsel.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Upon remand, the trial court held a hearing at which Appellant testified that he was
agreeable to having Mr. Griffin continue as his attorney.  The trial court also approved an
agreement between Appellant and the State in which Appellant agreed to dismiss these
appeals in exchange for the State agreeing to Appellant’s Motion for DNA Testing.  The
supplemental clerk’s records in each cause contain an order signed by the trial court
granting Appellant’s motion for forensic DNA testing.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 16, 2007, this Court received Appellant’s Motions to Dismiss both
appeals.   Pursuant to Rule 42.2(a) of the Texas Rules of Appellate Procedure, the motions
are signed by Appellant; however the date of signing is not indicated.  The motion bears
a Certificate of Service dated March 15, 2007. No decision of this Court having been
delivered, the motions are granted and the appeals are dismissed.  No motions for
rehearing will be entertained and our mandate will issue forthwith.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 26, 2007, this Court received Appellant’s pro se Motion for Leave
Objecting to or Challenge [sic] Senior Judge Assignment wherein he alleges that Judge
Neely did not have authority to preside over his cases.  The motion is dated March 13,
2007.  We overrule this motion as moot based on the fact that: (1) subsequent to the date
of this motion Appellant filed his motion to dismiss the appeal, and (2) Appellant has
received the relief which he sought by these proceedings.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Patrick A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice





Do not publish.


